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APPENDIX 3 to PLAINTIFFS’ FINAL INVALIDITY CONTENTIONS
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Aluotto, U.S. Patent No. 5,341,586 (filed Apr. 7, 1992, issued Aug. 30, 1994), in light of Bross, U.S. Patent No. 4,495,720 (filed
                                              Dec. 1, 1982, issued Jan. 29, 1985)
Language from Patent-In-Suit                                      Disclosure in Reference
1. A grip extender in combination with a handgun, comprising:     Aluotto, Col. 1, ll. 43-46: “The present invention is a stock
                                                                  extender designed to lengthen the stock of a small handgun by a
                                                                  nominal amount, so that all fingers of a larger-handed user may
                                                                  take part in gripping the stock during use of the gun.”

                                                                  Aluotto, Fig. 1:




a handgun using a variety of different model magazines,           Aluotto, Col. 1, ll. 47-50: “The invention may find application
                                                                  with handguns of the variety which are loaded and unloaded by
                                                                  inserting an ammunition-bearing magazine into the lower end of
                                                                  the stock or handle.”
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                                Aluotto, Col. 2, ll. 28-49: “As stated at the outset, the present
                                invention may find application on the smaller version of the
                                handgun having what may be referred to as a standard variant.
                                For example, the Colt 0.45 Standard Model, also known as the
                                1911 Government Model, is used with a seven-round magazine,
                                and is loaded and unloaded by inserting this magazine into the
                                stock. This handgun has a smaller version referred to as the Colt
                                0.45 Officer's Model, which differs from the Standard Model, by
                                having a shorter barrel and stock. Normally, the Officer's Model
                                is used with a six-round magazine. The stock extender of the
                                present invention, when placed and secured to the lower end of
                                the standard seven-round magazine, may be used to lengthen the
                                stock of the Officer's Model by an amount equal to the
                                difference in length between the six-round magazine and the
                                seven-round magazine, that is, by approximately an additional
                                one-half inch. Accordingly, the stock extender, when used with
                                the standard seven-round magazine, can provide the Officer's
                                Model with a stock equivalent in overall length to that of the
                                Standard Model.”

                                Aluotto, Col. 2, ll. 50-57: “More broadly and generally stated, a
                                handgun of the sort loaded by inserting an ammunition-bearing
                                magazine into the stock or handle may be provided with a longer
                                stock by using a longer, but compatible, magazine and the stock
                                extender of the present invention. The longer stock, of course,
                                may be capable of holding one or more additional rounds.”
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a grip extender with symmetrical interior side walls,      Aluotto, Figures 3 & 4:




                                                           In particular, Figure 4 is described as “circumferentially
                                                           continuous.” Col. 3, ll. 43-44.

an exterior front wall configured to a user’s grip,        Aluotto, Col. 1, ll. 25-40: “Although smaller handguns remain
                                                           popular among gun enthusiasts because they are lighter and
                                                           more compact than standard models, a user having a large hand
                                                           may find that his little finger resides below the lower end of the
                                                           stock when gripping the handgun. As a consequence, the large-
                                                           handed user may not be able to grip the handgun as well as
                                                           another user, whose hand is more comparable in size to the
                                                           stock. The accuracy with which the large-handed user may fire
                                                           the handgun will almost inevitably suffer. The present invention
                                                           addresses and provides a solution to these problems, and has
                                                           been designed to enable a large-handed user to handle a small
                                                           handgun more reliably and safely, and to enable him to grip such
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                                                                   a handgun with his entire hand. When the grip is improved,
                                                                   better accuracy must follow.”

                                                                   Aluotto, Col. 1, l. 63- Col. 2, l. 6: “Preferably, the stock
                                                                   extender is shaped circumferentially to follow the contour of the
                                                                   frame, wood grips and other materials on the stock of the
                                                                   handgun, so that, when in use with the handgun, the stock
                                                                   extender affords the hand of a user a continuous, substantially
                                                                   smooth surface for gripping. Where the lower end of a stock is
                                                                   bevelled for aesthetic purposes, the stock extender may also be
                                                                   bevelled on the one hand to provide an intimate fit against the
                                                                   lower end of the stock, and on the other hand to provide the
                                                                   lower end of the stock extender with the same aesthetic
                                                                   appearance as that of the lower end of the stock.”

                                                                   Aluotto, Figs. 3 & 4.

and a rear wall, for use with the handgun magazine to fill a gap   See Aluotto, Col. 1, ll. 25-40 and Col. 1, l. 63 – Col. 2, l. 6, and
between the magazine and the handgun,                              Figs. 3 & 4.

                                                                   Aluotto, Col. 2, ll. 57-61: “More importantly, the lengthened
                                                                   stock is more reliably gripped by larger-handed users, and
                                                                   enables such users to handle the handgun more comfortably and
                                                                   to shoot it more accurately.”

                                                                   Aluotto, Col. 3, ll. 6-15: “Typically, the lower end of the stock
                                                                   30 is provided with bevels 32 for aesthetic or other purposes.
                                                                   The stock extender 10 is preferably shaped with inclined
                                                                   surfaces 16 matching bevels 32, so that the stock extender 10
                                                                   may intimately fit against the lower end of stock 30. The outer
                                                                   circumferential contour 18 of the stock extender 10 corresponds
                                                                   to that of the stock 30. The stock extender 10 may also be
                                                                   provided with bevels 20 to provide the lower end of the stock
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                                                                  extender 10 with the characteristics of the lower end of the stock
                                                                  30.”

                                                                  Aluotto, Col. 3, ll. 20-26: “The stock extender 10, when
                                                                  abutting the lower end of stock 30, forms a substantially
                                                                  continuous surface therewith for gripping by the user of the
                                                                  handgun. The stock extender 10 is shaped to intimately fit
                                                                  against the lower end of the stock 30. Stock extender 10 may
                                                                  have bevels 20 analogous to those found at the lower end of the
                                                                  stock 30 of the handgun.”

                                                                  Aluotto, Claim 1: “. . . said magazine being longer than said
                                                                  stock and said stock extender having a thickness in an axial
                                                                  direction equal to the amount by which said magazine is longer
                                                                  than said stock, whereby said stock may be lengthened by an
                                                                  amount equal to the thickness of said stock extender to facilitate
                                                                  the gripping of said stock by a user of said handgun . . .”

with said magazine having an open top for loading ammunition      Aluotto, Claim 1: “. . . said magazine having an upper end, from
cartridges                                                        which ammunition is dispensed . . .”

and a closed bottom for containing said ammunition cartridges,    Aluotto, Claim 1: “. . . said magazine having . . . a lower end”
said closed bottom ending in a floor plate, of determinable
thickness, with a lower surface and an upper surface, with said   Aluotto, Fig. 2:
floor plate also having a peripheral surface larger than a
peripheral surface of a corresponding body of the magazine,
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                                Bross, Col. 5, ll. 24-33: “Another type of magazine 14 is formed
                                of one piece as shown in FIGS. 14 to 16. The one piece
                                magazine has a closed bottom 106. In FIG. 14 flanges are
                                provided by securing a plate 110 to the bottom of the magazine
                                14 by permanent means such as a spot weld 114 or by removable
                                means such as screws. The plate extends beyond the edges of the
                                walls of the magazine thereby providing flanges 115. The same
                                principle of staggered mating interrupted flanges and slots would
                                be applied to assemble the magazine to the pommel as described
                                above.”
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said grip extender further comprising:

   a) a one-piece collar slideably mounted from the open top      Aluotto, Col. 1, ll. 50-59: “The stock extender itself is a collar,
      of said magazine and subsequently seated at the closed      typically fashioned from a light-weight metal, such as
      bottom of said magazine thereby substantially filling any   aluminum, or other substance, such as plastic, which fits around
      gap resulting from a length of the magazine protruding      a magazine of greater length than that ordinarily used with the
      from a handgun when said magazine is engaged into said      handgun. Being generally in the shape of a collar, the stock
      handgun,                                                    extender defines an opening, through which the magazine may
                                                                  be inserted. The stock extender resides about the lower end of
                                                                  the magazine, the upper end being that inserted into the handgun
                                                                  to dispense ammunition into its firing chamber.”

                                                                  Aluotto, Col. 3, ll. 27-35: “FIG. 3 shows the stock extender 10
                                                                  positioned over the upper end of an ammunition magazine 26, as
                                                                  it would be prior to installation thereon. In actual use, the stock
                                                                  extender 10 may be installed on ammunition magazine 26 by
                                                                  inserting the upper end through the opening 40 defined by the
                                                                  collar-like shape of the stock extender 10, and by sliding the
                                                                  magazine 26 through opening 40 until the stock extender 10
                                                                  resides about the lower end of the magazine 26.”

                                                                  Aluotto, Claim 1: “. . . said stock extender being a collar
                                                                  defining an opening and fitting around the lower end of said
                                                                  magazine, said magazine being inserted through said opening up
                                                                  to said lower end. . . . . said magazine being longer than said
                                                                  stock and said stock extender having a thickness in an axial
                                                                  direction equal to the amount by which said magazine is longer
                                                                  than said stock, whereby said stock may be lengthened by an
                                                                  amount equal to the thickness of said stock extender to facilitate
                                                                  the gripping of said stock by a user of said handgun . . .”
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   said collar having a size and shape sufficient to            Aluotto contemplates the extender being made from plastic. See
   elastically receive and grip the magazine and magazine       Col. 1, l. 52.
   floor plate thereby securely retaining the collar
                                                                Aluotto also contemplates the extender “resid[ing] about the
                                                                lower end of the magazine 26,” Col. 3, ll. 34-35, and that “the
                                                                opening 40 is dimensioned so that the stock extender 10 may fit
                                                                snugly about the magazine when screw 14 is tightened,” Col. 3,
                                                                ll. 37-39.

                                                                Aluotto, Claim 1: “. . . said stock extender . . . fitting around the
                                                                lower end of said magazine”

                                                                Aluott, Claim 2: “The improvement as claimed in claim 1
                                                                wherein said opening of said stock extender is shaped to
                                                                correspond to the cross-sectional shape of said magazine, so that
                                                                said stock extender may fit snugly around said magazine.”

   and having at least one pair of opposed tangs oriented       Though Aluotto specifically discloses use of a screw for
   inward from the interior side walls of the collar; and       securing the collar about the magazine, other manners of
                                                                securing the collar are known.
b) further comprising at least one pair of opposed ribs, said
   ribs oriented inward from the interior side walls of the     For example, from Bross, a rib/tang arrangement is disclosed:
   collar,
                                                                Col. 2, ll. 51-58: “Longitudinal slots are formed in the wall and
   with a bottom shoulder of said ribs distanced above the      longitudinal flanges are formed at the butt end of the magazine.
   tangs, said distance approximately equal the                 The slots and the flanges are arranged with mating interruptions
   determinable thickness of the magazine floor plate; and      in staggered relationship to permit the butt end of the magazine
                                                                to enter the interior recess and to align the flanges with the slots
                                                                to attach the pommel to the magazine by sliding engagement.”

                                                                Col. 4, ll. 29-42: “The lateral walls 90 of the recessed interior
                                                                80 contain slots 92. The walls 90 are not continuous; hence the
                                                                slots 92 are interrupted as at 94 and 96. The length of the
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                                                               interruptions 94 and 96 are slightly greater than the length of the
                                                               flanges 72 and 74 on the magazine. The wall portion 90 where
                                                               the slots 92 are found are slightly shorter in length than the
                                                               interrupted portion 70 on the magazine 14. The interruptions 96
                                                               are at the trailing end 102 of the interior 80 of the pommel and
                                                               correspond in position to the trailing flanges 74 on the magazine.
                                                               The slots 94 at the leading end 100 of the recessed portion 80
                                                               and the flanges are in staggered mating relationship to each
                                                               other.”

c) when sliding the grip extender into its final position on   From Aluotto, Col. 1, ll. 59-62: “Means may be provided on the
   the magazine, a step of the said tangs engages the lower    stock extender to enable it to be tightened and secured firmly to
   surface of the floor plate and captures the corresponding   the lower end of the magazine.”
   upper surface of floor plate against said the bottom
   shoulders of the opposed ribs.                              From Bross:

                                                               Col. 2, ll. 41-47: “There are releasable interlock means on the
                                                               butt end of the magazine and complementary releasable
                                                               interlock means within the confines of the recessed interior of
                                                               the pommel. The pommel and the magazine may be secured
                                                               together with the interlock means completely obscured from
                                                               view when the magazine is inserted into the grip of the
                                                               handgun.”

                                                               Col. 43-68: “The pommel 16 is assembled to the butt end of the
                                                               magazine in the following manner. The follower 48 is inserted
                                                               into the magazine 14 from the open bottom. It is engaged by the
                                                               spring 42, the trailing end 49 of which is inserted through the
                                                               turned up tongue 50 of the detent plate 52. While the detent plate
                                                               52 is held manually in position near the butt end of the
                                                               magazine, the butt end is moved into position in the interior
                                                               recess 80 of the pommel with the trailing flanges 74 aligned with
                                                               the interruptions 96 and the forward flanges 72 aligned with the
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                                interruptions 94. The magazine is urged downwardly into the
                                recessed portion 80 until the flanges are aligned with the slots.
                                The detent 54 on the detent plate 52 enters the recessed ramp 86,
                                its sides being contained by the walls 88 of the ramp to align it
                                with the detent recess 84. When so aligned, the magazine 14 is
                                urged to the right relative to the pommel as viewed in FIG. 10
                                with the leading flanges 72 entering the slotted portions 98 and
                                the trailing flanges 74 of the magazine, moving from the
                                interrupted areas 96 into the slots in the wall portion 99. This
                                relative movement continues until the detent 54 engages the
                                recess 84 under spring pressure while the leading edge 60 of the
                                magazine interfaces the leading end 100 of the recessed portion
                                80. This places the pommel in a firm and secure location as the
                                base of the magazine.”
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                                                                   See also Col. 5, ll. 46-49: “There may be many forms and
                                                                   configurations of structure for securing the pommel to the
                                                                   magazine, the above being merely illustrations and not
                                                                   limitations thereof.”


 Language from Patent-In-Suit                                      Disclosure in Reference
 4. The grip extender claim 1 further comprising a lower surface   See supra (regarding Claim 1), and Bross, Col. 4, l. 26 (referring
 depending below the magazine floor plate thereby protecting       to “floor 82”).
 said magazine from impacts with surfaces when the magazine is
 released from a handgun during reloading.

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